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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

--------------------------------- x
                                        :
In re:                                  :                       Chapter 11
                                        :
Promise Healthcare Group, LLC, et al.,1 :                       Case No. 18-12491 (CSS)
                                        :
                     Debtors.           :                       (Jointly Administered)
                                        :
--------------------------------- x

                                         AFFIDAVIT OF SERVICE

       I, Andrew Chan, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

        At my direction and under my supervision, employees of Prime Clerk caused Notices of
Transfer of Claim based on Official Form 2100A, to be served via First Class Mail on the date
and upon the Transferor and Transferee, as set forth on the Claim Transfer Service List attached
hereto as Exhibit A.




                                [Remainder of page intentionally left blank]




1
  The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913),
Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp.
(6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages Holdings,
LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties,
Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of
Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), : Promise Hospital of Dade, Inc. (7837), Promise
Hospital of Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at The
Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise
Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc.
(0659), Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties
of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise
Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791),
Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), Success Healthcare 1, LLC (6535), Success Healthcare,
LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise Behavioral Health
Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the
Villages, Inc. (7529), and PHG Technology Development and Services Company, Inc. (7766). The mailing address for
the Debtors, solely for purposes of notices and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 33431.
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                                                                /s/ Andrew Chan
Dated: December 18, 2020                                          Andrew Chan


State of New York
County of New York

Subscribed and sworn to (or affirmed) before me on December 18, 2020, by Andrew Chan,
proved to me on the basis of satisfactory evidence to be the person who appeared before me.

/s/ Liz Santodomingo
Notary Public, State of New York
No. 01SA6301250
Qualified in New York County
Commission Expires April 14, 2022
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                      Exhibit A
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                                                         Exhibit A
                                                Claim Transfer Service List
                                 Served via First Class Mail on the Date Set Forth Below




   Docket #                   Transferor                             Transferee                 Date of Service



                                                               CRG Financial LLC
                           Soleo Health, Inc
                                                            Attn: Allison R. Axenrod
     2104                 415 S. 48th Street                                                  November 13, 2020
                                                                100 Union Ave
                          Tempe, AZ 85281
                                                              Cresskill, NJ 07626




                    St Joseph Medical Center            Bradford Capital Holdings, LP
                         PO Box 874148                      c/o Bradford Capital
                     Kansas City, MO 64114                   Management, LLC
     2203                                                                                     December 4, 2020
                                                             Attn: Brian Brager
                    St Joseph Medical Center                     PO Box 4353
                     1000 Carondelet Drive                    Clifton, NJ 07012
                     Kansas City, MO 64114




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